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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

        v.
                                                       Criminal Action No. 18-00032-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                       Defendant.


                                            ORDER

        Having considered the parties’ [19] Joint Motion for a Briefing Schedule, it is

ORDERED that the motion is GRANTED but modified as follows:

       (1)    The defendant, Concord Management and Consulting, LLC, shall file its
              first anticipated pretrial motion (challenging the authority of the special
              counsel) on or before June 25, 2018; the government shall file its opposition
              on or before July 16, 2018; the defendant shall file its reply on or before
              July 30, 2018;

       (2)    The defendant shall file its second anticipated pretrial motion (motion to
              dismiss indictment) on or before July 16, 2018; the government shall file its
              opposition on or before August 15, 2018; the defendant shall file its reply
              on or before August 31, 2018;

       (3)    The defendant shall file its third anticipated pretrial motion (motion for
              hearing regarding selective prosecution) on or before August 3, 2018; the
              government shall file its opposition on or before September 4, 2018; the
              defendant shall file its reply on or before September 18, 2018;

       (4)    The defendant shall file its fourth anticipated pretrial motion (due process
              challenge to grand jury instructions) on or before August 31, 2018; the
              government shall file its opposition on or before September 21, 2018; the
              defendant shall file its reply on or before October 5, 2018.

       At the June 15, 2018 status conference, the Court intends to hear argument on the

defendant’s [11] Motion pursuant to Rule 6(e)(3)(E)(ii) for In Camera Inspection of Legal

Instructions Provided to the Grand Jury Regarding Count One of the Indictment.
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       The Court intends to hear argument on the defendant’s first anticipated pretrial motion

on August 1, 2, 3, or 6, 2018. Accordingly, counsel shall confer and inform the Court by June 8,

2018 of three mutually agreeable dates and times for the August hearing.

       The Court intends to hear argument on the remaining pretrial motions in late September

2018 and October 2018. At the June 15, 2018 status conference, counsel shall be prepared to

propose mutually agreeable dates and times for the September and October hearings.

       SO ORDERED.




                                                           ________________________
                                                           DABNEY L. FRIEDRICH
                                                           United States District Judge
Date: June 4, 2018




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